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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Kathleen M. Tafoya

  Civil Action No. 18–cv–00337–WJM–KMT

  CHRISTOPHER P. SWEENEY, and
  NIKOLE M. SWEENEY,

         Plaintiffs,

  v.

  CITY OF COLORADO SPRINGS, COLORADO,
  STETSON HILLS MASTER HOME OWNERS ASSOCIATION, INC., and
  DIVERSIFIED PROPERTY MANAGEMENT, LLC,

         Defendants.


               ORDER SETTING RULE 16(b) SCHEDULING CONFERENCE
                       AND RULE 26(f) PLANNING MEETING


         This case has been referred to Magistrate Judge Kathleen M. Tafoya by District Judge,
  William J. Martinez pursuant to the Order of Reference filed February 12, 2018. See 28 U.S.C.
  §636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b).

         IT IS HEREBY ORDERED:

         (1) The court shall hold a Fed. R. Civ. P. 16(b) scheduling and planning conference on

                                         April 16, 2018, at
                                   10:30 a.m. (Mountain Time).

  The conference shall be held in the Colorado Springs courtroom, Suite 1000, 212 N. Wahsatch
  Avenue, Colorado Springs, Colorado. If this date is not convenient for any party1, he or she
  shall file a motion to reschedule the conference to a more convenient time. Please remember
  that anyone seeking entry into the Colorado Springs courtroom will be required to show
  valid photo identification. See D.C.COLO.LCivR 83.2B.



  1
   The term “party” as used in this Order means counsel for any party represented by a lawyer, and
  any pro se party not represented by a lawyer.
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  Any party who wishes to attend the conference by telephone must file a motion. However,
  telephonic participation will only be allowed by a land line. No cellular, cordless or
  speaker phones will be permitted.

          A copy of instructions for the preparation of a scheduling order and a form scheduling
  order can be downloaded from the Court’s website at
  www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx (Scroll down to the bold
  heading “Standardized Order Forms”). For patent cases, a copy of a form scheduling order in a
  patent case can be downloaded from the Court’s website at
  http://www.cod.uscourts.gov/JudicialOfficers/ArticleIMagistrateJudges/HonKathleenMTafoya.a
  spx. Parties shall prepare the appropriate proposed scheduling order in accordance with the
  Court’s form.

         The parties shall submit their proposed scheduling order, pursuant to District of Colorado
  Electronic Case Filing (“ECF”) Procedures, on or before:

                                    5:00 p.m. (Mountain Time) on
                                            April 9, 2018.

  Attorneys and/or pro se parties not participating in ECF shall submit their proposed scheduling
  order on paper to the Clerk’s Office. However, if any party in the case is participating in ECF, it
  is the responsibility of that party to submit the proposed scheduling order pursuant to the District
  of Colorado ECF Procedures.

           The plaintiff shall notify all parties who have not yet entered an appearance of the date
  and time of the scheduling/planning conference, and shall provide a copy of this Order to those
  parties.

          (2) In preparation for the scheduling/planning conference, the parties are directed to
  confer in accordance with Fed. R. Civ. P. 26(f). The court strongly encourages the parties to
  meet face to face, but should that prove impossible, the parties may meet by telephone
  conference. All parties are jointly responsible for arranging and attending the Rule 26(f)
  meeting.

          During the Rule 26(f) meeting, the parties shall discuss the nature and basis of their
  claims and defenses and the possibilities for a prompt settlement or resolution of the case, make
  or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1), and develop their proposed
  scheduling/discovery plan. The parties should also discuss the possibility of informal discovery,
  such as conducting joint interviews with potential witnesses, joint meetings with clients,
  depositions via telephone, or exchanging documents outside of formal discovery.

         In those cases in which: (i) the parties’ substantive allegations involve extensive
  computer-generated records; (ii) a substantial amount of disclosure or discovery will involve
  information or records in electronic form (i.e., e-mail, word processing, databases); (iii) expert
  witnesses will develop testimony based in large part on computer data and/or modeling; or (iv)
  any party plans to present a substantial amount of evidence in digital form at trial, the parties
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  shall confer regarding steps they can take to preserve computer records and data, facilitate
  computer-based discovery and who will pay costs, resolve privilege issues, limit discovery costs
  and delay, and avoid discovery disputes relating to electronic discovery. The parties shall be
  prepared to discuss these issues, as appropriate, in the proposed Scheduling Order and at the
  scheduling and planning conference.

         These are the minimum requirements for the Rule 26(f) meeting. The parties are
  encouraged to have a comprehensive discussion and are required to approach the meeting
  cooperatively and in good faith. The parties are reminded that the purpose of the Rule 26(f)
  meeting is to expedite the disposition of the action, discourage wasteful pretrial activities, and
  improve the quality of any eventual trial through more thorough preparation. The discussion of
  claims and defenses shall be a substantive, meaningful discussion.

         The parties are reminded that pursuant to Fed. R. Civ. P. 26(d), no discovery shall be
  sought prior to the Rule 26(f) meeting.

          (3) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
  P. 26(a)(1). Counsel and parties are reminded that mandatory disclosure requirements
  encompass computer-based evidence which may be used to support claims or defenses.
  Mandatory disclosures must be supplemented by the parties consistent with the requirements of
  Fed. R. Civ. P. 26(e). Mandatory disclosures and supplementation are not to be filed with the
  Clerk of the Court.

          (4) All parties are expected to be familiar with the United States District Court for the
  District of Colorado Local Rules of Practice (D.C.COLO.LCivR.). Copies are available from
  Office of the Clerk, United States District Court for the District of Colorado, or through the
  District Court’s web site: www.cod.uscourts.gov.

        All out-of-state counsel shall comply with D.C.COLO.LCivR. 83.3 prior to the
  Scheduling/Planning Conference.

         Dated this 20th day of February, 2018.

                                                        BY THE COURT:



                                                        _________________________________
                                                        Kathleen M. Tafoya
                                                        United States Magistrate Judge
